Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page1of13

United States District Court
District of Massachusetts

Islam Faisal Muhammad Ibrahim

Abdelrasoul,
Plaintiff,
Civil Action No.
Vv. 24-10988-NMG

Trustees of Boston University

Defendant.

et eet ee et ee et et

MEMORANDUM & ORDER
GORTON, J.

This case arises from a housing dispute between plaintiff
Islam Faisal M.I. Abdelrasoul (“‘“Abdelrasoul” or “plaintiff” )and
Boston University Housing Services, a subsidiary of defendant
Trustees of Boston University (“BU” or “defendant”). In March,
2024, BU refused to offer plaintiff a housing accommodation for
his alleged disability and declined to renew plaintiff's housing
agreement for the 2024-2025 academic year.

Plaintiff, originally acting pro se, filed a 13-count
complaint alleging, among other claims, that defendant
discriminated against him on the basis of his disability and
retaliated against him after he threatened to report BU to the

City of Boston. In June, 2024, this time represented by
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 2 of 13

counsel, plaintiff filed an amended complaint, adding seven
claims.

Defendant moves to dismiss all counts and, for the
following reasons, the motion will be allowed, in part, and
denied, in part.

I. Background

A. Facts

According to the complaint, plaintiff is a student in the
Ph.D. program at BU who resides in graduate student housing. In
April, 2023, Abdelrasoul submitted to BU a housing disability
accommodation letter in which he requested to move from a studio
apartment to a one-bedroom apartment for the following academic
year. He attached a letter from a clinical psychologist that
stated that his mental health would benefit from the move. BU
allegedly denied the request and plaintiff remained in the same
studio unit for the 2023-24 academic year.

In February, 2024, BU Housing Services informed plaintiff
that it had received a notice of inspection by the City of
Boston and requested him to complete a consent form which
included a right of entry without the presence of the student.
In its email notice, BU explained that a resident’s failure to
return the completed form could result in a violation of the

residence license agreement.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page3of13

On March 5, 2024, plaintiff responded to BU Housing
Services by questioning the wording of the consent form as a
“threat []” and asserting that BU had been engaging in “a lot of
unfair practices towards the students since they took over
graduate housing”. He claimed that the form violated the
policies of the City of Boston because it required tenants to
waive their right to be in their residence during the
inspection. Although BU responded that the inspection was
routine and that Abdelrasoul had the right to be present during
the inspection, plaintiff sur-replied that he would not be
“coerce[d]” into signing the form and threatened to report BU to
the City.

Six days later on March 11, 2024, plaintiff contacted BU
Graduate Housing to complain that he could not access his lease
renewal agreement online. BU Graduate Housing responded that he
could not renew his lease until he complied with his rental
agreement by submitting a completed inspection consent form.
The relevant portion of Section 32 of that agreement provides:

The City of Boston Inspectional Services and
University have the right to enter for routine
inspections of the Premises. Licensee cannot
refuse entry for Inspectional Services to conduct
these routine inspections during stipulated dates

and times which will be provided with reasonable
notice.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 4of13

In the continuing email thread, BU also confirmed that it
could not accommodate plaintiff's April, 2023, disability
accommodation request, as follows:

I must also highlight your previous request to
relocate to a different unit earlier this year,
which our office was not able to honor. Our
office will continue to not be able to honor your
request to move to a different unit between
agreement terms. Considering the factors
mentioned above, unfortunately, we are unable to
offer you the option to renew your agreement for
the 2024-2025 term session.

Although plaintiff attempted to submit a signed inspection
consent form on March 12, BU persisted in declining to renew his
residence agreement. Plaintiff followed up with the Director of
BU Housing but to no avail.

B. Procedural History

In the original complaint filed in April, 2024, plaintiff

alleged, inter alia, that defendant discriminated against him on

the basis of his disability, retaliated against him after he
threatened to report BU to the City and intentionally inflicted
upon him emotional distress. He simultaneously filed an
emergency motion for an ex parte temporary restraining order
(“TRO”) and preliminary injunction. The Court denied both,
finding that plaintiff had demonstrated neither a likelihood of

success on the merits nor irreparable harm.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page5of13

In May, 2024, plaintiff filed a notice of interlocutory
appeal to the First Circuit Court of Appeals (“First Circuit”)
challenging the denial of the preliminary injunction. In June,
2024, plaintiff sought, and the First Circuit granted, a stay of
his appeal so that he could file a motion for reconsideration in
this Court. In July, 2024, plaintiff filed a motion to vacate
the ruling of this Court and to defer to the Massachusetts
Housing Court on the issues of the TRO and preliminary
injunction. That pleading was treated as a motion for
reconsideration and was denied. The appeal, nevertheless,
apparently remains pending before the First Circuit.

In July, 2024, with the aid of counsel, plaintiff filed a

20-count amended complaint, alleging, inter alia, violations of

the Fair Housing Act (“FHA”), negligence and breach of contract.
Plaintiff later voluntarily dismissed without prejudice Counts 8
and 9, both of which he had filed on behalf of his brother.

In response, defendant filed a motion to dismiss all
counts. Plaintiff does not contest dismissal of Counts 1
through 10, and 15 through 20. Therefore, this Court will
dismiss those counts and consider here only Counts 11 through

14.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 6of13

II. Motion to Dismiss

A. Legal Standard

To survive a motion to dismiss pursuant to Fed. R. Civ. P.
12(b) (6), the subject pleading must state a claim for relief
that is actionable as a matter of law and “plausible on its

face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is

facially plausible if, after accepting as true all non-
conclusory factual allegations, the “court [can] draw the
reasonable inference that the defendant is liable for the

misconduct alleged.” Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (lst Cir. 2011) (quoting Igbal, 556 U.S. at 678). The
reviewing court “may not disregard properly pleaded factual
allegations even if actual proof of those facts is improbable.”

Ocasio-Hernandez, 640 F.3d at 12.

When rendering that determination, a court may not look
beyond the facts alleged in the complaint, documents
incorporated by reference therein and facts susceptible to

judicial notice. Haley v. City of Boston, 657 F.3d 39, 46 (1st

Cir. 2011). A court also may not disregard properly pled
factual allegations even if “actual proof of those facts is

improbable.” Ocasio-Hernandez, 640 F.3d at 12 (quoting Twombly,

550 U.S. at 556). Rather, the necessary “inquiry focuses on the
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 7 of 13

reasonableness of the inference of liability that the plaintiff
is asking the court to draw.” Id. at 13. The assessment is

holistic:

the complaint should be read as a whole, not
parsed piece by piece to determine whether each
allegation, in isolation, is plausible.

Hernandez-Cuevas v. Taylor, 723 F.3d 91, 103 (1st Cir. 2013)

(quoting Ocasio-Hernandez, 640 F.3d at 14).

B. Application
1. Counts 11, 12 and 13: Discrimination
Counts 11 through 13 allege housing discrimination under
the FHA, 42 U.S.C. §3604(f), and its state law analog, M.G.L.
¢.151B. Section 3604(f£) (1) (A) prohibits
discrimination in the sale or rental, or to otherwise
make unavailable or deny, a dwelling to any buyer or
renter because of a handicap of that buyer or renter.
Subsection(f) (2) (A) similarly bars discrimination “in the terms
conditions, or privileges of sale or rental of a dwelling” due
to a handicap of the tenant.
Section (f) (3) (B) expands the definition of discrimination
to include
refus[ing] to make reasonable accommodations in
rules, policies, practices, or services, when
such accommodations may be necessary to afford [a

handicapped] person equal opportunity to use and
enjoy a dwelling.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 8of13

Plaintiff claims defendant violated each of these three
subsections (and their corresponding state law equivalents under
M.G.L. c.151B) by first denying his request for a “reasonable
accommodation” (i.e., moving him from a studio to a one-bedroom
apartment) and then preventing him from renewing his housing
contract.

To establish a claim of discrimination under any one of the
subsections of §3604, plaintiff must first demonstrate that he
has a “handicap” as defined by the statute. Both the FHA and
M.G.L. c.151B define the term “handicap” as “a physical or
mental impairment which substantially limits one or more of [a]
person's major life activities . .. ." 42 U.S.C. §3602(h);
M.G.L. c. 151B, § 1(17).

Defendant contends that the complaint fails to allege facts
sufficient to prove the first element of a discrimination claim
because it describes neither the nature of plaintiff’s “mental
impairment” nor how said handicap “substantially limits one or
more of [his] major life activities.” 42 U.S.C. § 3602(h);
M.G.L. c. 151B, § 1(17).

Plaintiff insists that the letter from his psychologist
demonstrates that he has a qualifying handicap but the vague
claims made by the therapist are insufficient to carry his

burden. The letter, in relevant part, states:
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page9of13

[Plaintiff's] condition meets the definition of
disability under the Americans with Disabilities
Act, the Fair Housing Act, and the Rehabilitation
Act of 1973. Living in a studio apartment witha
roommate has been detrimental to his mental
health condition and academic functioning.

At no point does the psychologist (or the plaintiff in his
complaint) “plead the disability with specificity” with regard
to either the nature of Abdelrasoul’s mental health condition or

the resulting limitations he faces.+ Garcia v. Chapman, 2:24-cv-

0O0109-LEW, 2024 WL 1694092, at *2 (D. Me. Apr. 19, 2024) (citing

Miles v. Hous. Auth. Of Texarkana, 668 Fed. Appx. 450, 452 (5th

Cir. 2016)). The bare-bones legal conclusion offered in the
letter constitutes the kind of
formulaic recitation of the elements of a cause
of action [that does not] raise a right of relief
above a speculative level.
Twombly, 550 U.S. at 555. A factually barren statement that
plaintiff has a qualifying disability is not endowed with

special weight simply because it is a professional who proclaims

it. See Cosme-Pérez v. Municipality of Juana Diaz, 110 F. Supp.

3d 357, 365 (D.P.R. 2015) (concluding that allegations of an
impairment “supported only with a medical diagnosis or

conclusory assertions of disability by a physician are

1 The complaint briefly mentions a prior diagnosis of anxiety but does not
indicate whether that is the “condition” to which the letter refers.

- 9 -
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 10 of 13

insufficient to show disability” in the context of a claim under
the Americans with Disabilities Act).

Even if plaintiff had demonstrated a qualifying handicap,
Count 11 is deficient because he does not allege facts to
support his claim that his request for accommodation was

both reasonable and necessary to allow equal
opportunity for use and enjoyment of the

housing

Astralis Condo. Ass'n v. Sec’y, U.S. Dep’t of Hous. & Urban

Dev., 620 F.3d 62, 67 (lst Cir. 2010). This Court previously
warned plaintiff, in denying his motion for a preliminary
injunction, that the original complaint failed to explain why a
one-room apartment was necessary to ensure he had equal
opportunity to use and enjoy his housing. The amended complaint
does not remedy that defect.
2. Count 14: Retaliation

In Count 14 of the amended complaint, plaintiff alleges
that BU took adverse action against him by prohibiting him from
renewing his housing agreement in retaliation for submitting his
accommodation requests.

A retaliation claim under the FHA requires plaintiff to
allege that: (1) he engaged in protected activity, (2) defendant
committed an adverse act against him, and (3) there is a causal

link between the protected activity and the adverse action.

- 10 -
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 11 of 13

Dixon v. Hallmark Cos., 627 F.3d 849, 858 (11th Cir. 2010); Kris

v. Dusseault Fam. Revocable Tr., 594 F. Supp. 3d 333, 341

(D.N.H. 2022).

The facts alleged in the complaint easily satisfy the first
and second elements of a retaliation claim. Plaintiff's “self-
advocacy” in his emails to BU Housing requesting an
accommodation is considered a protected activity under the

retaliation provision of the FHA. Valle-Arce v. P.R. Ports

Auth., 651, F.3d 190, 198 (lst Cir. 2011). An adverse act under
the FHA is defined as “coercion, intimidation, threats, or
interference.” 42 U.S.C. § 3617. Preventing plaintiff from
accessing the housing portal constituted an act of interference
by BU.

Defendant argues that plaintiff fails at the third step
because he cannot show that his accommodation requests were the
cause of BU’s declination. Although it is a close call, this
Court disagrees. The complaint alleges that plaintiff signed
the inspection consent form prior to the renewal deadline for
his housing contract. He then attempted to renew his contract
(also before the deadline) but found himself blocked from the
portal. When he made an inquiry to BU Housing Services, the
office cited two reasons for declining his renewal request: (1)

plaintiff's failure to sign the inspection consent form; and (2)
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 12 of 13

the inability of Housing Services to accommodate plaintiff's

requests for a one-bedroom apartment.

Defendant insists that the claim cannot stand because the
accommodation requests were the “but-for” cause of the adverse
act but that is unpersuasive. As defendant admits, the First
Circuit has yet to decide whether the protected activity must be
the but-for cause of the adverse action or if it can be one of
several motivating factors. Even if this Court were to adopt a
but-for causation standard, the complaint alleges facts
sufficient to raise a plausible right to relief.

At the motion to dismiss stage, this Court

construes the material facts alleged in the
complaint in the light most favorable to the
plaintiff, with dismissal granted only if
plaintiff has presented no set of facts upon

which relief can be granted.

CP Holdings, Inc. v. Goldberg-Zoino & Associates, Inc., 769 F.

Supp. 432, 433 n.1 (D.N.H. 1991) (citing Chasan v. Village Dist.

Of Eastman, 572 F. Supp. 578 (D.N.H. 1983), aff'd without

opinion, 745 F.2d 43 (lst Cir. 1984)). Construing the facts in
the light most favorable to plaintiff, BU Housing Services

admitted that the accommodation requests motivated its decision
and offered up the missing consent form as an excuse to obscure

its retaliatory intent.
Case 1:24-cv-10988-NMG Document 86 Filed 12/18/24 Page 13 of 13

Although this Court doubted the merits of plaintiff's
retaliation claim when it denied his motion for a preliminary
injunction, that earlier conclusion does not close the door on
plaintiff’s claim at this stage in the litigation. Here, the
Court is concerned

{not with] whether plaintiff will ultimately
prevail but whether the claimant is entitled to
offer evidence to support the claims.
Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Plaintiff is so
entitled.
ORDER

For the foregoing reasons, defendant’s motion to
dismiss (Docket No. 68) is with respect to Counts 1-13 and
15-20, ALLOWED; but with respect to count 14, DENIED.

So ordered.
Ls ii
Veh LW Aux

Nathaniel M. Gorton
United States District Judge

Dated: December/§ , 2024
